         Case 4:02-cv-00041-HLM Document 605 Filed 10/15/03 Page 1 of 8

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           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                      ROME DIVISION




1 RE :   TRI-STATE                      )
(EMATORY LITIGATION                     )    MDL DOCKET N0 .   1467




                   VIDEOTAPE DEPOSITION OF

                     RICHARD G .            NASA, JR .




                            May 19,          2003

                               1 :30 p .a .


                           The Forum
                      2 Government Plaza
                         Rome, Georgia




           John P . Payne,         RPR, CRR, CCR A-1006




                        B          OWN
                                               INC.

                             I*"
                            1609 MaR6a Berry Blvd.
                               Rome, GA 30165
                                 706235-8300
      Case 4:02-cv-00041-HLM Document 605 Filed 10/15/03 Page 2 of 8

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        IN THE UNITED STATES DISTRICT COURT
       FOR THE NORTHERN DISTRICT OF GEORGIA
                   ROME DIVISION




 RE : TRI-STATE                      )
EMATORY LITIGATION                   )   MDL DOCKET N0 .        1467




               VIDEOTAPE DEPOSITION OF

                  DEIDRE MAE NEHRENZ




                        May 19,          2003

                          10 :00 a .m .


                       The Forum
                  2 Government Plaza
                     Rome, Georgia




       John P .   Payne,       RPR,      CRR,      CCR A-1006




                   B           OWN
                                           INC .

                        I*"
                       1609 Manna Berry Blvd .
                          Romy GA 30165
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        IN THE UNITED STATES DISTRICT COURT
       FOR THE NORTHERN DISTRICT OF GEORGIA
                   ROME DIVISION




r RE : TRI-STATE                   )
2EMATORY LITIGATION                )   MDL DOCKET N0 .        1467




                VIDEOTAPE DEPOSITION OF

                         JAMES SHIRLEY




                     October 21,         2002

                          10 :07 a .m .




                      300 The Peachtree
                    1355 Peachtree Street
                      Atlanta, Georgia




        Carl   R.    Forte,   CCR-A-597,         RMR,   CRR


                     B        OWN
                                          INC.

                        4#20"
                      1740 PeacLtree St, x.w.
                        Atlanta, GA 30309
                          404-876-8979
        Case 4:02-cv-00041-HLM Document 605 Filed 10/15/03 Page 4 of 8
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                                                                                     Clerk
                                                                         1


          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                     ROME DIVISION




IN RE : TRI-STATE                      )        \
CREMATORY LITIGATION                   )     MDL DOCKET N0 .   1467




                 VIDEOTAPE DEPOSITION OF

                      EDWARD E .- WATTS



                          June 6,            2003

                                 10 :30



                       Suite 3000
                950 East Paces Ferry Road
                    Atlanta, Georgia



                Lisa A . Messing CCR A-421




                     B           OWN
                                              INC.


                          I*"
                         7609 Martha Berry Blvd .
                            Romq GA 30165
                              906-235-8300

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   Case 4:02-cv-00041-HLM Document 605 Filed 10/15/03 Page 5 of 8

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         IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF GEORGIA
                    ROME DIVISION




I RE :  TRI-STATE                    )
;EMATORY, LITIGATION                 )   MDL DOCKET NO .   1467




                VIDEOTAPE DEPOSITION OF

                 WALTER DEWAYNE WILSON




                       April       15,     2003

                           10 :00 a .s .



                        The Forum
                   2 Government Plaza
                     Rome, Georgia




              Lisa A .      Messing CCR A-421




                    B          OWN
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                           Rome, GA 30165
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      Case 4:02-cv-00041-HLM Document 605 Filed 10/15/03 Page 6 of 8
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         IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF GEORGIA
                    ROME DIVISION




V RE : TRI-STATE                    )
2EMATORY LITIGATION                 )    MDL DOCKET N0 .         1467




                VIDEOTAPE DEPOSITION OF


                WILLIAM HAVENS WHEELER



                         June 24,             2003

                          10 :06 a .m .



                    The Omberg House
                 615 West First Street
                      Rome, Georgia


         Penny J .   McPherson,               CCR-B-914,   RPR




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                                ' N ~ ~~ /j

                          ~y.~nA7LTIK' INC.
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                      1740 Peachhee St, N .W.
                        Atlanta, GA 30309
                          404-876-8979

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           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                      ROME D;VISiON




I1) RE : TRI-STATE                  )
CREMATORY LITIGATION                )   MDL DOCKET N0 .    1467




                  VIDEOTAPE DEPOSITION OF

                           KATHI KELLY



                          July 29, 2003


                            4 :41   p .m .

                     900 Republic Centre
                     838 Chestnut Street
                    Chattanooga, Georgia


           Penny J . McPherson, CCR-B-914, RPR




                      B       OWN
                                         [NC.

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                         AdW& . OA 30101
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 Case 4:02-cv-00041-HLM Document 605 Filed 10/15/03 Page 8 of 8




THE DEPOSITION TRANSCRIPT IS
LOCATED IN THE CASE FOLDER.

    (To be scanned behind the cover sheet of the deposition transcript .)
